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 7
                                UNITED STATES DISTRICT COURT
 8                             CENTRAL DISTRICT OF CALIFORNIA
 9   JASON ALAN, on behalf of himself and all         ) Case No.
10   others similarly situated,                       )
                                                      ) CLASS ACTION
11   Plaintiff,                                       )
                                                      ) COMPLAINT FOR VIOLATIONS OF:
12           vs.                                      )
13                                                    ) 1. NEGLIGENT VIOLATIONS OF THE
                                                      )      TELEPHONE CONSUMER
14   GREENFIELD APPLICATIONS, INC., and )                    PROTECTION ACT [47 U.S.C. §227 ET
                                                             SEQ.]
     DOES 1 through 10, inclusive, and each of        ) 2. WILLFUL VIOLATIONS OF THE
15   them,                                            )      TELEPHONE CONSUMER
16                                                    )      PROTECTION ACT [47 U.S.C. §227 ET
     Defendants.                                      )      SEQ.]
17                                                    )
                                                      ) DEMAND FOR JURY TRIAL
18
                                                      )
19                                                    )
                                                      )
20           Plaintiff, Jason Alan (“Plaintiff”), on behalf of himself and all others similarly situated,
21
     alleges the following upon information and belief based upon personal knowledge:
22
23                                     NATURE OF THE CASE
            1.      Plaintiff brings this action for himself and others similarly situated seeking
24
25   damages and any other available legal or equitable remedies resulting from the illegal actions

26   of GREENFIELD APPLICATIONS, INC. (“Defendant”), in negligently, knowingly, and/or
27   willfully contacting Plaintiff on Plaintiff’s cellular telephone in violation of the Telephone
28
     Consumer Protection Act, 47. U.S.C. § 227 et seq. (“TCPA”), thereby invading Plaintiff’s


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     privacy.
 1
 2                                     JURISDICTION & VENUE
 3
 4          2.      Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff, a resident

 5   of California, seeks relief on behalf of a Class, which will result in at least one class member
 6
     belonging to a different state than that of Defendant, a company with its principal place of
 7
     business and State of California. Plaintiff also seeks up to $1,500.00 in damages for each call
 8
 9   in violation of the TCPA, which, when aggregated among a proposed class in the thousands,

10   exceeds the $5,000,000.00 threshold for federal court jurisdiction. Therefore, both diversity
11   jurisdiction and the damages threshold under the Class Action Fairness Act of 2005 (“CAFA”)
12
     are present, and this Court has jurisdiction.
13
            3.       Venue is proper in the United States District Court for the Central District of
14
15   California pursuant to 18 U.S.C. 1391(b) and 18 U.S.C. § 1441(a) because Defendant does

16   business within the state of California and Plaintiff resides within this District.
17                                                PARTIES
18
            4.      Plaintiff, JASON ALAN (“Plaintiff”), is a natural person residing in Los
19
     Angeles, California and is a “person” as defined by 47 U.S.C. § 153 (39).
20
21          5.      Defendant,     GREENFIELD          APPLICATIONS,          INC.    (“Defendant”   or

22   “DEFENDANT”), is a company in the business of creating customized apps for business and is
23
     a “person” as defined by 47 U.S.C. § 153 (39).
24
            6.      The above named Defendant, and its subsidiaries and agents, are collectively
25
     referred to as “Defendants.” The true names and capacities of the Defendants sued herein as
26
27   DOE DEFENDANTS 1 through 10, inclusive, are currently unknown to Plaintiff, who

28   therefore sues such Defendants by fictitious names. Each of the Defendants designated herein



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     as a DOE is legally responsible for the unlawful acts alleged herein. Plaintiff will seek leave of
 1
 2   Court to amend the Complaint to reflect the true names and capacities of the DOE Defendants

 3   when such identities become known.
 4
            7.      Plaintiff is informed and believes that at all relevant times, each and every
 5
     Defendant was acting as an agent and/or employee of each of the other Defendants and was
 6
 7   acting within the course and scope of said agency and/or employment with the full knowledge

 8   and consent of each of the other Defendants. Plaintiff is informed and believes that each of the
 9   acts and/or omissions complained of herein was made known to, and ratified by, each of the
10
     other Defendants.
11
12                                  FACTUAL ALLEGATIONS
            8.      Beginning in or around February of 2016, Defendant contacted Plaintiff on his
13
14   cellular telephone, number ending in -7456, in an effort to sell or solicit its services.

15          9.      Defendant used an “automatic telephone dialing system”, as defined by 47
16   U.S.C. § 227(a)(1) to place its daily calls to Plaintiff seeking to sell or solicit its business
17
     services. Defendant often called from telephone numbers 267-201-9050, 949-202-4088, 201-
18
     221-4745, 214-308-7014, 978-284-1011. Defendant called, including but not limited to on
19
20   February 18, 2016 at 1:48 pm, February 23, 2016 at 7:44 am, April 2, 2016 at 11:57 am, March

21   28, 2016 at 3:43 pm, May 9, 2016 at 1:35 pm, and May 3, 2016 at 2:02 pm.
22
            10.     Defendant’s calls constituted calls that were not for emergency purposes as
23
     defined by 47 U.S.C. § 227(b)(1)(A).
24
            11.     Defendant’s calls were placed to telephone number assigned to a cellular
25
26   telephone service for which Plaintiff incurs a charge for incoming calls pursuant to 47 U.S.C. §

27   227(b)(1).
28
            12.     Plaintiff is not a customer of Defendant’s services and has never provided any


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     personal information, including his cellular telephone number, to Defendant for any purpose
 1
 2   whatsoever. Accordingly, Defendant never received Plaintiff’s “prior express consent” to

 3   receive calls using an automatic telephone dialing system or an artificial or prerecorded voice
 4
     on his cellular telephone pursuant to 47 U.S.C. § 227(b)(1)(A).
 5
            13.     In addition, Plaintiff often answered the telephone where Defendant utilized an
 6
 7   “artificial or prerecorded voice” as prohibited by 47 U.S.C. § 227(b)(1)(A). On these occasions,

 8   Plaintiff would then be transferred to a live person where Plaintiff would inform Defendant to
 9   stop calling him.
10
                                        CLASS ALLEGATIONS
11
12
            14.     Plaintiff brings this action on behalf of himself and all others similarly situated,
13
     as a member of the proposed class (hereafter “The Class”) defined as follows:
14
15
                    All persons within the United States who received any telephone
16                  calls from Defendant to said person’s cellular telephone made
                    through the use of any automatic telephone dialing system or an
17                  artificial or prerecorded voice and such person had not previously
18                  consented to receiving such calls within the four years prior to
                    the filing of this Complaint
19
            15.     Plaintiff represents, and is a member of, The Class, consisting of All persons
20
21   within the United States who received any telephone calls from Defendant to said person’s

22   cellular telephone made through the use of any automatic telephone dialing system or an
23
     artificial or prerecorded voice and such person had not previously not provided their cellular
24
     telephone number to Defendant within the four years prior to the filing of this Complaint.
25
            16.     Defendant, its employees and agents are excluded from The Class. Plaintiff
26
27   does not know the number of members in The Class, but believes the Class members number in

28   the thousands, if not more. Thus, this matter should be certified as a Class Action to assist in



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     the expeditious litigation of the matter.
 1
 2          17.     The Class is so numerous that the individual joinder of all of its members is

 3   impractical. While the exact number and identities of The Class members are unknown to
 4
     Plaintiff at this time and can only be ascertained through appropriate discovery, Plaintiff is
 5
     informed and believes and thereon alleges that The Class includes thousands of members.
 6
 7   Plaintiff alleges that The Class members may be ascertained by the records maintained by

 8   Defendant.
 9          18.     Plaintiff and members of The Class were harmed by the acts of Defendant in at
10
     least the following ways: Defendant illegally contacted Plaintiff and Class members via their
11
     cellular telephones thereby causing Plaintiff and Class members to incur certain charges or
12
13   reduced telephone time for which Plaintiff and Class members had previously paid by having to

14   retrieve or administer messages left by Defendant during those illegal calls, and invading the
15   privacy of said Plaintiff and Class members.
16
            19.     Common questions of fact and law exist as to all members of The Class which
17
     predominate over any questions affecting only individual members of The Class.           These
18
19   common legal and factual questions, which do not vary between Class members, and which

20   may be determined without reference to the individual circumstances of any Class members,
21
     include, but are not limited to, the following:
22
                    a.      Whether, within the four years prior to the filing of this Complaint,
23                          Defendant made any call (other than a call made for emergency purposes
                            or made with the prior express consent of the called party) to a Class
24
                            member using any automatic telephone dialing system or any artificial or
25                          prerecorded voice to any telephone number assigned to a cellular
                            telephone service;
26                  b.      Whether Plaintiff and the Class members were damages thereby, and the
27                          extent of damages for such violation; and
                    c.      Whether Defendant should be enjoined from engaging in such conduct in
28                          the future.



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             20.    As a person that received numerous calls from Defendant using an automatic
 1
 2   telephone dialing system or an artificial or prerecorded voice, without Plaintiff’s prior express

 3   consent, Plaintiff is asserting claims that are typical of The Class.
 4
             21.    Plaintiff will fairly and adequately protect the interests of the members of The
 5
     Class. Plaintiff has retained attorneys experienced in the prosecution of class actions.
 6
 7           22.    A class action is superior to other available methods of fair and efficient

 8   adjudication of this controversy, since individual litigation of the claims of all Class members
 9   is impracticable. Even if every Class member could afford individual litigation, the court
10
     system could not. It would be unduly burdensome to the courts in which individual litigation
11
     of numerous issues would proceed. Individualized litigation would also present the potential
12
13   for varying, inconsistent, or contradictory judgments and would magnify the delay and expense

14   to all parties and to the court system resulting from multiple trials of the same complex factual
15   issues. By contrast, the conduct of this action as a class action presents fewer management
16
     difficulties, conserves the resources of the parties and of the court system, and protects the
17
     rights of each Class member.
18
19           23.    The prosecution of separate actions by individual Class members would create a

20   risk of adjudications with respect to them that would, as a practical matter, be dispositive of the
21
     interests of the other Class members not parties to such adjudications or that would
22
     substantially impair or impede the ability of such non-party Class members to protect their
23
     interests.
24
25           24.    Defendant has acted or refused to act in respects generally applicable to The

26   Class, thereby making appropriate final and injunctive relief with regard to the members of the
27
     California Class as a whole.
28



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                                      FIRST CAUSE OF ACTION
 1
                     Negligent Violations of the Telephone Consumer Protection Act
 2                                        47 U.S.C. §227 et seq.

 3          25.       Plaintiff repeats and incorporates by reference into this cause of action the
 4
     allegations set forth above at Paragraphs 1-24.
 5
            26.       The foregoing acts and omissions of Defendant constitute numerous and
 6
 7   multiple negligent violations of the TCPA, including but not limited to each and every one of

 8   the above cited provisions of 47 U.S.C. § 227 et seq.
 9          27.       As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et seq.,
10
     Plaintiff and the Class Members are entitled an award of $500.00 in statutory damages, for
11
     each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
12
13          28.       Plaintiff and the Class members are also entitled to and seek injunctive relief

14   prohibiting such conduct in the future.
15                              SECOND CAUSE OF ACTION
16         Knowing and/or Willful Violations of the Telephone Consumer Protection Act
                                     47 U.S.C. §227 et seq.
17
            29.       Plaintiff repeats and incorporates by reference into this cause of action the
18
19   allegations set forth above at Paragraphs 1-28.

20          30.       The foregoing acts and omissions of Defendant constitute numerous and
21
     multiple knowing and/or willful violations of the TCPA, including but not limited to each and
22
     every one of the above cited provisions of 47 U.S.C. § 227 et seq.
23
            31.       As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. § 227
24
25   et seq., Plaintiff and the Class members are entitled an award of $1,500.00 in statutory

26   damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. §
27
     227(b)(3)(C).
28



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            32.     Plaintiff and the Class members are also entitled to and seek injunctive relief
 1
 2   prohibiting such conduct in the future.

 3
                                        PRAYER FOR RELIEF
 4
            WHEREFORE, Plaintiff requests judgment against Defendant for the following:
 5
 6                                   FIRST CAUSE OF ACTION
 7
                  Negligent Violations of the Telephone Consumer Protection Act
 8                                     47 U.S.C. §227 et seq.

 9                 As a result of Defendant’s negligent violations of 47 U.S.C. §227(b)(1),
10                  Plaintiff and the Class members are entitled to and request $500 in statutory
                    damages, for each and every violation, pursuant to 47 U.S.C. 227(b)(3)(B); and
11
                   Any and all other relief that the Court deems just and proper.
12
13                                 SECOND CAUSE OF ACTION

14         Knowing and/or Willful Violations of the Telephone Consumer Protection Act
                                     47 U.S.C. §227 et seq.
15
16                 As a result of Defendant’s willful and/or knowing violations of 47 U.S.C.
                    §227(b)(1), Plaintiff and the Class members are entitled to and request treble
17                  damages, as provided by statute, up to $1,500, for each and every violation,
18                  pursuant to 47 U.S.C. §227(b)(3)(B) and 47 U.S.C. §227(b)(3)(C); and

19                 Any and all other relief that the Court deems just and proper.
20
21          Respectfully Submitted this 4th Day of August, 2016.

22
23                                         LAW OFFICES OF TODD M. FRIEDMAN, P.C.

24
                                               By:   /s Todd M. Friedman
25                                                   Todd M. Friedman
26                                                   Law Offices of Todd M. Friedman
                                                     Attorney for Plaintiff
27
28



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